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Case 4:24-cr-00057-GKF Document 25 Filed in USDC ND/OK on 05/07/24 Page 1 of 1

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
VS. Case No.: 24-CR-57-GKF
Morgan Cole Womack, WAIVER OF SPEEDY TRIAL
Defendant.

The Defendant, Morgan Cole Womack (“Defendant”) acknowledges that he/she has been fully
advised of his/her right to a speedy trial and understands that right has been guaranteed by the Sixth
Amendment of the United States Constitution and by the Speedy Trial Act, 18 U.S.C. § 3161. With
such knowledge, Defendant freely and voluntarily waives his/her right to a speedy trial herein.
Defendant requests the Court find that the ends of justice served by granting the continuance outweigh
the interests of the public and Defendant in a speedy trial.

Defendant specifically requests that all delays resulting from a continuance of his/her jury trial
from May 20, 2024 to July 15, 2024 be excluded from computation under the Speedy Trial Act
pursuant to 18 U.S.C. § 31

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Defendant Date

I have consulted with my client, Defendant, who has expressed a clear and unequivocal

understanding of the right to speedy trial and voluntarily waived such right as set forth herein.

F13feor
Attomey fi ant Date

Waiver of Speedy Trial (CR-06p Modified 8/2021)
